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 6
 7
 8                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      ) CASE NO. CR F 03-5016 OWW
                                    )
12                Plaintiff,        )
               v.                   ) ORDER FOR DESTRUCTION OF
13                                  ) FIREARM EVIDENCE
     PEDRO ALVAREZ and              )
14             ERNESTO GRANDADOS    )
                                    )
15                                  )
                    Defendants.     )
16   _______________________________)
17
           Having read and considered the government’s request, and good
18
     cause having been demonstrated;
19
           IT IS HEREBY ORDERED THAT the Drug Enforcement Administration
20
     destroy the following firearms seized during the above entitled
21
     investigation:
22
23   DEA Exhibit          Description of Firearm            Serial Number
     N-3                  Wilson Pistol                     601880
24
     N-4                  Bersa Thunder .380 pistol         418294
25
26
     DATED: November 14 , 2006
27
                                             /s/ OLIVER W. WANGER______
28                                           Honorable Oliver W. Wanger
                                             UNITED STATES DISTRICT JUDGE
